         Case 2:17-cv-04392-MMB Document 155 Filed 11/30/17 Page 1 of 12




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Louis Agre et al.,                                   :
                                                     :
                      Plaintiffs,                    :          Civil Action No. 2:17-cv-4392
                                                     :
                       v.                            :
                                                     :
Thomas W. Wolf et al.,                               :
                                                     :
                      Defendants.                    :

     LEGISLATIVE DEFENDANTS’ OUTLINE OF ELEMENTS FOR PLAINTIFFS’
    PRIVILEGES AND IMMUNITIES CLAUSE AND FIRST AMENDMENT CLAIMS

        As this Court held, “[t]he United States Supreme Court has never decided a so-called

 ‘gerrymandering’ case on Election Clause grounds.” (St. of Reasons for the Court’s Decision,

 ECF No. 83, at 1). In that order, the Court opted to provide Plaintiffs an “opportunity to present

 their evidence at trial” as to their Privileges and Immunities/Elections Clause claim. Id. The

 Court later directed the parties to brief “the elements Plaintiffs must prove to establish a violation

 of the Elections Clause and the First Amendment as alleged in in the Amended Complaint,”

 along with the evidentiary standard and burden-shifting. (Order of Nov. 21, 2017, ECF No. 104,

 at ¶ 4). It is unclear what legal standards the Supreme Court might adopt for adjudicating claims

 of this nature. The Supreme Court may well find them legally insufficient as stated.

        Legislative Defendants disagree with all premises of Plaintiffs’ case, including the view

 that voters have standing to enforce rights under the Elections Clause, that the Elections Clause

 imposes limitations on state legislatures when redistricting, that a First Amendment claim has

 been stated on the pleadings, and that the claim is justiciable. (Mot. to Dismiss Am. Compl., ECF

 No. 108-2, at 3-10). Without waiving these positions, Legislative Defendants offer the following

 views on the standards that should apply to Plaintiffs’ purported claims.
        Case 2:17-cv-04392-MMB Document 155 Filed 11/30/17 Page 2 of 12



       To the extent—if at all—that Plaintiffs’ claim will be viewed as raising justiciable or

colorable legal claims, Legislative Defendants respectfully submit that the Supreme Court is

likely to adjudicate them under “well developed and familiar” constitutional standards that apply

to the claims of any other federal-court plaintiffs. See Baker v. Carr, 369 U.S. 224, 226 (1962).

After all, “federal-court review of districting legislation represents a serious intrusion on the

most vital of local functions.” Miller v. Johnson, 515 U.S. 900, 916 (1995).

       As to Article III standing, this principle requires proof of a “concrete and particularized

harm” going well beyond “undifferentiated, generalized grievance[s] about the conduct of

government.” Lance v. Coffman, 549 U.S. 437, 442 (2007). Plaintiff’s Privileges and Immunities

Clause claim requires proof that the alleged right (here, the Elections Clause) “arise[s] out of the

nature and essential character of the National government, the provisions of its Constitution, or

its laws and treaties made in pursuance thereof” such that it falls within “the protection of

Congress” under the Fourteenth Amendment’s enforcement clause. Slaughter-House Cases, 83

U.S. [16 Wall.] 36, 37 (1872). Alternatively, to the extent Plaintiffs seek to present this claim

under the Anderson/Burdick framework, well developed standards require a showing that the

voting restriction places a “severe” burden on the right to vote, effectively denying the franchise

outright. Burdick v. Takushi, 504 U.S. 428, 434 (1992). And, as to their First Amendment claim,

Plaintiffs must demonstrate a “restraint[]” on expressive and associational rights, Bantam Books,

Inc. v. Sullivan, 372 U.S. 58, 70 (1963), or retaliation “sufficient to deter a person of ordinary

firmness from exercising his First Amendment rights.” McKee v. Hart, 436 F.3d 165, 170 (3d

Cir. 2006) (quotation marks omitted). Plaintiffs cannot succeed without meeting, at a minimum,

these rigorous standards of proof.




                                                 2
        Case 2:17-cv-04392-MMB Document 155 Filed 11/30/17 Page 3 of 12



                                           ARGUMENT

       Plaintiffs allege two counts under 42 U.S.C. § 1983: “Violation of Privileges and

Immunities Clause” and “Violation of the First Amendment.” (Am. Compl. at 10, 12). In

addition to the merits of these claims, this case raises questions of Article III standing.

       A.      Standing

       As the Supreme Court made clear in Lujan v. Defenders of Wildlife, claims that are not

differentiated from those of the general public do not grant any right to bring such grievances to

federal court. 504 U.S. 555, 574-575 (1992). The elements of standing are an injury in fact, a

connection between the harm complained of, and redressability. Id. at 560. Notably, “it is not

enough that the party invoking the power of the court have a keen interest in the issue,”

Hollingsworth v. Perry, 133 S.Ct. 2652, 2659 (2013), or that the plaintiff be concerned “about

the conduct of government.” Lance, 549 U.S. at 442. Plaintiffs bear the burden of first proving

they have a cognizable injury in fact, a hurdle nearly insurmountable in a statewide redistricting

case because ofPlaintiffs’ lack of differentiation from any other voter. See, e.g., United States v.

Hays, 515 U.S. 737, 746 (1995) (“Only those citizens able to alleged injury as a direct result of

them personally having been denied equal treatment may bring such a challenge….”) (internal

citation omitted).

       Second, Plaintiffs bear the burden of proving that the Court can provide, as redress for

their purported injury, the relief they request: that the Executive Branch draw the map for the

General Assembly’s “approval.” But the process of redistricting in each State is left to the State’s

legislature and the accompanying legislative process. See New York State Bd. of Elections v.

Lopez Torres, 552 U.S. 196, 204-206 (2008) (reversing grant of injunction mandating New York

offer direct primary elections for judicial candidates, finding that whether a primary system gives



                                                  3
        Case 2:17-cv-04392-MMB Document 155 Filed 11/30/17 Page 4 of 12



an individual a “fair shot” at winning an election is a legislative judgment and overruling that

legislative judgment was error). In Lopez-Torres, the Court affirmed that mechanics of state

election processes are precisely the types of decisions generally best left to legislative judgment.

       B.      Enforcement of Rights Via § 1983

       If Plaintiffs prove standing, the next question is whether the “right” they allege is

enforceable under 42 U.S.C. § 1983. Plaintiffs bear the burden of showing “the violation of a

federal right.” Golden State Transit Corp. v. City of Los Angeles, 493 U.S. 103, 106 (1989). A

“right” is narrow and does not include all “violations of federal law,” only legal provisions

conferring “rights, privileges, or immunities.” Id. Plaintiffs must show that “the provision in

question creates obligations binding on the governmental unit,” that the alleged interests are not

“too vague and amorphous” to be enforced by the judiciary, and that “the provision in question

was intend[ed] to benefit the putative plaintiff.” Id. (quotation marks omitted).

       C.      Political Question Doctrine

       Plaintiffs also bear the burden of showing that their claims involve “judicially

enforceable rights.” Vieth v. Jubelirer, 541 U.S. 267, 277 (2004) (opinion of Scalia, J.). The

Supreme Court has set forth “six independent tests” to identify whether a question is justiciable:

               [1] a textually demonstrable constitutional commitment of the
               issue to a coordinate political department; or [2] a lack of judicially
               discoverable and manageable standards for resolving it; or [3] the
               impossibility of deciding without an initial policy determination of
               a kind clearly for nonjudicial discretion; or [4] the impossibility of
               a court's undertaking independent resolution without expressing
               lack of the respect due coordinate branches of government; or [5]
               an unusual need for unquestioning adherence to a political decision
               already made; or [6] the potentiality of embarrassment from
               multifarious pronouncements by various departments on one
               question.

Id. at 277-78 (quoting Baker, 369 U.S. at 217). “These tests are probably listed in descending

order of both importance and certainty,” and there is “no doubt” of the “validity” of the required

                                                 4
         Case 2:17-cv-04392-MMB Document 155 Filed 11/30/17 Page 5 of 12



showing that the claim presents “judicially discoverable and manageable standards.” Id. at 278.

As Legislative Defendants have previously noted, a majority of the Supreme Court has never

been able to agree on an applicable standard by which to evaluate a partisan gerrymandering

claim.

         D.     Privileges and Immunities Clause

         If Plaintiffs meet the threshold Article III and justiciability tests, they must then prove

their claims on the merits. Plaintiffs’ first claim is under the Privileges and Immunities Clause.

The reach of that clause is “narrow.” McDonald v. City of Chicago, Ill., 561 U.S. 742, 755

(2010). Under this “high standard,” Plaintiffs must show that the rights they seek to assert “‘owe

their existence to the Federal government, its National character, its Constitution, or its laws.’”

Id. at 754–55 (quoting The Slaughter-House Cases, at 83 U.S. [16 Wall.] at 79). The character of

the rights need to be sufficiently federal in character as to allow their enforcement by Congress

under the Fourteenth Amendment. The Slaughter-House Cases, at 83 U.S. [16 Wall.] at 79.

         The rights Plaintiffs seek to create are under the Elections Clause. (Am. Compl. ¶ 58).

Courts have rejected the notion that the Elections Clause creates rights enforceable under the

Privileges and Immunities Clause. See, e.g., Pope v. Blue, 809 F.Supp. 392, 399 (W.D.N.C.

1992) (finding no precedent to suggest that the Privileges or Immunities Clause “protects a

citizen’s right to live in a regularly shaped congressional district”), aff’d, 506 U.S. 801 (1992);

O’Lear v. Miller, 222 F. Supp. 2d 850, 860 (E.D. Mich. 2002) (declining to find that Privileges

or Immunities Clause protects a right “to fair representation or the right to an effective vote),

aff’d, 537 U.S. 997 (2002). But even if Elections Clause rights were enforceable under the

Privileges or Immunities clause, Plaintiffs must prove their case under the substantive standards

of the Elections Clause.



                                                  5
        Case 2:17-cv-04392-MMB Document 155 Filed 11/30/17 Page 6 of 12



       The first step of the inquiry under the Elections Clause analysis is to ascertain whether

the “powers” at issue are among those reserved to the states under the Tenth Amendment or if

they are solely the result of an affirmative grant under the Elections Clause. See U.S. Term

Limits, Inc. v. Thornton, 514 U.S. 779, 802-804 (1995). If the power is reserved to the states

under the Tenth Amendment, then Plaintiffs would be required to identify some affirmative

restriction in the U.S. Constitution on the use of those powers; on the other hand if the power is

granted solely through the Elections Clause, then the Elections Clause may restrict the use of

those powers to regulation of “Place, Time, and Manner” of elections. See id. at 804–08. Thus, to

make out an Elections Clause case (rather than a violation of some other constitutional

provision), Plaintiffs must show that the power to redistrict is granted to the state legislature

solely under the Elections Clause and is not part of states’ inherent authority. But see Chapman

v. Meier, 420 U.S. 1, 27 (1975) (“reapportionment is primarily the duty and responsibility of the

State through its legislature or other body.”)

       If Plaintiffs meet that first step, the second step is ascertaining whether the 2011 Plan is a

“Time, Place, and Manner” regulation. While Plaintiffs in this case cite U.S. Term Limits, Inc.,

that case primarily concerned the Qualifications Clause, and the Court concluded that the

Elections Clause did not grant the state a license to override the Qualifications Clause by

excluding a class of candidates. The Supreme Court has already clearly stated that redistricting

maps and processes are within the province of the State Legislatures.            See Arizona State

Legislature v. Arizona Indep. Redistricting Comm’n, 135 S.Ct. 2652 at 2672 (2015) (“The

dominant purpose of the Elections Clause the historical record bears out, is to empower Congress

to override state election rules, not to restrict the way States enact legislation”). In one case

Plaintiffs have cited, Cook v. Gralike, the Supreme Court struck down a state constitutional



                                                 6
        Case 2:17-cv-04392-MMB Document 155 Filed 11/30/17 Page 7 of 12



provision that required its Congressional representatives to pledge support for a federal term

limits amendment or else face a statement appearing on the ballot urging voters not to vote for

that candidate. 531 U.S. 510, 514 (2001). The Supreme Court found that the statute violated the

Elections Clause because the provision “bears no relation to the ‘manner’ of elections” and was

solely “intended” to “handicap candidates for the United States Congress” and “to dictate

electoral outcomes” in order to achieve term limits. Id. at 525 (quotation marks omitted).

       Therefore, to prevail on their Privileges or Immunities Clause/Elections Clause claim,

Plaintiffs must show that the 2011 Plan, taken as a whole, either (1) “add[s] to or alter[s] the

qualifications specifically enumerated in the Constitution” for Congresspersons to obtain office

and that this alteration was the legislature’s “the sole purpose”; or (2) “bears no relation” to

regulation of place, time, or manner of elections and served no other purpose but an “attempt[] to

dictate electoral outcomes.” On the other hand, the 2011 Plan must be held lawful if it falls

within “the States[’] ‘broad power’ to prescribe the procedural mechanisms for holding

congressional elections.” Cook, 531 U.S. at 523.

       Plaintiffs bear a preponderance of the evidence burden on all these showings.

       E.      The Anderson-Burdick Framework

       At times, Plaintiffs suggest that they intend to invoke the Anderson-Burdick test in

connection with their Privileges and Immunities Clause claim, (Mem. in Opp. to Mot. to Dismiss

Am. Compl., ECF No. 133, at 3-10), which courts use to test whether elections regulations

unnecessarily and unjustifiably burden the right to vote. See Burdick, 504 U.S. at 434. As such a

claim has been inadequately plead, Legislative Defendants do not consent to trial of this issue.

       However, if the Court chooses to allow argument on this issue, the analysis would turn on

“the extent to which a challenged regulation burdens First and Fourteenth Amendment rights.”



                                                 7
        Case 2:17-cv-04392-MMB Document 155 Filed 11/30/17 Page 8 of 12



Id. at 434. Plaintiffs first must show that “those rights are subjected to ‘severe’ restrictions.” Id.

To be “severe,” the purported restriction would have to be as restrictive as bars to ballot access

for political parties and candidates, Anderson v. Celebrezze, 460 U.S. 780, 787–89 (1983), or

prohibitions on write-in voting. Burdick, 504 U.S. at 434–35. It would have to be proven more

restrictive than voter qualifications, such as voter identification requirements, that may limit

access to the polls. Crawford v. Marion County Election Bd., 553 U.S. 181, 211–18 (2008).

        If that showing is made, the burden would shift to the defense to show that the regulation

is “narrowly drawn to advance a state interest of compelling importance.” Burdick, 504 U.S. at

434. If not made, “the State’s important regulatory interests are generally sufficient to justify”

reasonable, nondiscriminatory voter regulations. Id., quoting Anderson, 460 U.S. at 788.

        Notably, intent to obtain partisan advantage from a voting restriction does not itself

amount to a burden on the right to vote and does not, independent of a showing of burden, satisfy

Plaintiffs’ burden at any phase of the inquiry. Crawford, 553 U.S. at 203–204. See also Miller,

515 U.S. at 916 (recognizing that “electoral districting is a most difficult subject for legislatures,

and so the States must have discretion to exercise the political judgment necessary to balance

competing interests”).

        F.     The First Amendment

        Plaintiffs’ second claim is under the First Amendment. Am Compl. at 12.                  First

Amendment standards condemn classifications on grounds of expression or association only to

“the extent [they] compel[] or restrain[] belief and association….” Elrod v. Burns, 427 U.S. 347,

357 (1976); see also Vieth, 541 U.S. at 314–15 (Kennedy, J.) (“The [First Amendment]

inquiry…is whether political classifications were used to burden a group’s representational

rights.”).



                                                  8
        Case 2:17-cv-04392-MMB Document 155 Filed 11/30/17 Page 9 of 12



       Under familiar First Amendment standards, Plaintiffs have two options to make out a

claim. First, they may show that the state law amounts to a “restraint[]” on their freedom to

speak or associate.” Bantam Books, Inc., 372 U.S. at 70. This requires either a showing that their

views are, at minimum, “arguably prohibited,” Babbitt v. United Farm Workers Nat’l Union, 442

U.S. 289, 303 (1979), or that they are being legally forced to, or prohibited from, association.

Cal. Democratic Party v. Jones, 530 U.S. 567, 573 (2000); Tashjian v. Republican Party of

Conn., 479 U.S. 208, 214–17 (1986). Where no such burden is shown, the claim must fail. Wash.

State Grange v. Wash. State Republican Party, 552 U.S. 442, 453 (2008). This standard does not

incorporate a right to a “fair shot” at success at the polls. Lopez Torres, 552 U.S. at 205–206.

       Second, they may show that the state law amounts to unconstitutional retaliation for

speech or association. McKee v. Hart, 436 F.3d 165, 170 (3d Cir. 2006). The elements of First

Amendment retaliation are: (1) constitutionally protected conduct, (2) retaliatory action

sufficient to deter a person of ordinary firmness from exercising his constitutional rights, and (3)

a causal link between the constitutionally protected conduct and the retaliatory action. Thomas v.

Independence Twp., 463 F.3d 285, 296 (3d Cir. 2006). Examples of retaliation sufficient to deter

a person of ordinary firmness from exercising his constitutional rights include a “prolonged and

organized campaign of harassment” by law enforcement officers, see, e.g., Bennett v. Hendrix,

423 F.3d 1247, 1254 (11th Cir. 2005), police “intimidation tactics,” see, e.g., Keenan v. Tejeda,

290 F.3d 252, 259 (5th Cir. 2002), criminal prosecution, see Bruner v. Baker, 506 F.3d 1021,

1030 (10th Cir. 2007), or adverse employment action. See, e.g., Hill v. City of Pine Bluff, Ark.,

696 F.3d 709, 715 (8th Cir. 2012). Falling short of that, no cognizable claim exists. See Zelnik v.

Fashion Inst. of Tech., 464 F.3d 217, 227 (2d Cir. 2006) (finding no deprivation of First

Amendment rights where university professor was denied “emeritus” status because the “benefits



                                                 9
       Case 2:17-cv-04392-MMB Document 155 Filed 11/30/17 Page 10 of 12



of such status…carry little or no value and their deprivation therefore may be classified as de

minimis”); Mezibov v. Allen, 411 F.3d 712, 721–23 (6th Cir. 2005) (finding no First Amendment

deprivation where allegedly defamatory statements by prosecutor would not deter a “defense

attorney of ordinary firmness” from continuing to defend his client).

       If Plaintiffs meet these three elements, the burden shifts to the defense to show that the

same action would have been taken anyway. Dougherty v. Sch. Dist. of Philadelphia, 772 F.3d

979, 986 (3d Cir. 2014); Mt. Healthy City Sch. Dist. Bd. of Educ. v. Doyle, 429 U.S. 274, 287

(1977). If that showing is made, Plaintiffs “no longer fairly could attribute the injury complained

of to improper consideration of a discriminatory purpose.” Vill. of Arlington Heights v. Metro.

Hous. Dev. Corp., 429 U.S. 252, 271 (1977). If the defense meets its burden, the burden then

would shifts back to Plaintiffs to show that the stated reasons for the action are pretexts. See

Feldman v. Philadelphia Hous. Auth., 43 F.3d 823, 831 (3d Cir. 1994).

                                        CONCLUSION

       The judicial power of Article III, § 1, is “not whatever judges choose to do.” Vieth, 541

U.S. at 278. The Court should instead apply “well developed and familiar” constitutional

standards consistent with Supreme Court case law. See Baker, 369 U.S. at 227. Those standards

require, at bare minimum, the showing described above. For reasons stated elsewhere,

Legislative Defendants request that this case be dismissed immediately. If the Court entertains a

trial, Legislative Defendants respectfully submit that the above-described standards are the

minimum elements Plaintiffs must be required to show.




                                                10
       Case 2:17-cv-04392-MMB Document 155 Filed 11/30/17 Page 11 of 12



Dated: November 30, 2017                            Respectfully submitted,

 BLANK ROME LLP                                      CIPRIANI & WERNER PC

  /s/ Brian S. Paszamant                               /s/ Kathleen A. Gallagher
 BRIAN S. PASZAMANT                                   KATHLEEN A. GALLAGHER
 JASON A. SNYDERMAN                                   CAROLYN BATZ MCGEE
 JOHN P. WIXTED                                       650 Washington Road, Suite 700
 One Logan Square                                     Pittsburgh, Pennsylvania 15228
 130 N. 18th Street                                   Phone: 412-563-4978
 Philadelphia, Pennsylvania 19103                     Email: kgallagher@c-wlaw.com
 Phone: 215-569-5791                                  cmcgee@c-wlaw.com
 Facsimile: 215-832-5791
 Email: paszamant@blankrome.com                       Attorneys for Legislative Defendant
 snyderman@blankrome.com                              Representative Michael Turzai
 jwixted@blankrome.com

 Attorneys for Legislative Defendant Senator
 Joseph Scarnati III

HOLTZMAN VOGEL JOSEFIAK                              BAKER & HOSTETLER LLP
TORCHINSKY PLLC

 /s/ Jason Torchinsky                                 /s/ Patrick T. Lewis
JASON TORCHINSKY (admitted Pro Hac Vice)             PATRICK T. LEWIS
SHAWN SHEEHY (admitted Pro Hac Vice)                 (admitted Pro Hac Vice)
PHILLIP M GORDON (admitted Pro Hac Vice)             Key Tower
45 North Hill Drive, Suite 100                       127 Public Square
Warrenton, Virginia 20186                            Suite 2000
Phone: 540-341-8808                                  Cleveland, OH 441144114
Facsimile: 540-341-8809                              Phone: 216-621-0200
Email: jtorchinsky@hvjt.law                          Email: plewis@bakerlaw.com
ssheehy@hvjt.law
                                                     Attorney for Legislative Defendant
Attorneys for Legislative Defendants                 Representative Michael Turzai
Senator Joseph Scarnati III and
Representative Michael Turzai




                                               11
       Case 2:17-cv-04392-MMB Document 155 Filed 11/30/17 Page 12 of 12




                                  CERTIFICATE OF SERVICE

       I, Kathleen A. Gallagher, hereby, certify that on this 30th day of November, 2017, I

caused a true and correct copy of the foregoing Legislative Defendants’ Outline of Elements for

Plaintiffs’ Privileges and Immunities Clause and First Amendment Claims to be served on all

counsel of record, via the Court’s ECF Filing System.


                                                Respectfully submitted,


Dated: November 30, 2017                          /s/ Kathleen A. Gallagher
                                                 KATHLEEN A. GALLAGHER

                                                CIPRIANI & WERNER, P.C.
                                                650 Washington Road, Suite 700
                                                Pittsburgh, PA 15228
                                                (412) 563-2500 (Telephone)
                                                (412) 563-2080 (Facsimile
